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                                                                    USDC-S.D.N.Y.
UNITED STATES DISTRICT COURT
                                                                    DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                       ELECTRONICALLY FILED
                                                                    DOC#:
    PROJET HIRE HOLDINGS INC. AND                                   DATE FILED: 12/30/2020
    TALENTHIRE LLC,

                             Plaintiffs,
                                                                      20-CV-6856 (RA)
                        v.                                                  ORDER
    CEIPAL CORP.,

                             Defendant.



RONNIE ABRAMS, United States District Judge:

        Plaintiffs Project Hire Holdings and TALENThire filed this lawsuit in August 2020, bringing

claims for trademark infringement, unfair competition, and counterfeiting in connection with

Defendant Ceipal’s alleged use of Plaintiffs’ “TALENT HIRE” service mark. See Dkt. 1; Dkt. 7

(amended complaint). On December 1, 2020, Defendant filed both a motion to dismiss the amended

complaint, see Dkt. 30, and a motion to transfer venue to the Western District of New York, see Dkt.

26. On December 29, 2020, Plaintiffs filed a letter consenting to the motion to transfer venue. See Dkt.

39.

        “For the convenience of parties and witnesses, in the interest of justice, a district court may

transfer any civil action to any other district or division where it might have been brought or to

any district or division to which all parties have consented.” 28 U.S.C. § 1404(a). In light of Plaintiffs’

consent to the transfer of venue, Defendant’s motion to transfer venue pursuant is hereby granted.1




1
  The Court also notes that this action “might have been brought” in the Western District of New York.
See 28 U.S.C. §§ 1391(b)(1), (2). Ceipal’s principal place of business is in Rochester, NY. See Dkt. 1
at 11; Dkt. 27 at 2. Moreover, as the litigation concerns Defendant’s business activities, and in
particular its use of the term “TalentHire,” a substantial part of the events giving rise to the lawsuit
occurred in the Western District of New York. See Dkt. 27 at 7.

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         The Court declines to address Defendants’ pending motion to dismiss, see Dkt. 30, or the

viability of Plaintiffs’ second amended complaint, see Dkts. 40, 41, as these issues are properly

resolved by the transferee court. See Enigma Software Grp. USA, LLC v. Malwarebytes Inc., 260 F.

Supp. 3d 401, 413 (S.D.N.Y. 2017). The conference scheduled for January 8, 2021 is hereby

adjourned. The Clerk of Court is respectfully directed to terminate the motion pending at Dkt. 26 and

to transfer this case to the Western District of New York.

SO ORDERED.

Dated:      December 30, 2020
            New York, New York

                                                  RONNIE ABRAMS
                                                  United States District Judge




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